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 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     RAQUEL LAZO
 3   Assistant Federal Public Defender
     Nevada State Bar No. 8540
 4   411 E. Bonneville, Ste. 250
     Las Vegas, Nevada 89101
 5   (702) 388-6577/Phone
     (702) 388-6261/Fax
 6   Raquel_Lazo@fd.org

 7   Attorney for In Seon Seong

 8
                                  UNITED STATES DISTRICT COURT
 9
                                         DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                              Case No. 12-CR-268-JAD-CWH
12                  Plaintiff,                              UNOPPOSED MOTION FOR
                                                            RETURN OF PASSPORT
13          v.
14   IN SEON SEONG,
15                  Defendant.
16
17          Comes now the defendant, In Seon Seong, by and through her counsel of record,
18   Raquel Lazo, Assistant Federal Public Defender, and respectfully requests the return of his
19   passport. This request is made based upon the following reasons:
20          1. On November 22, 2013, Ms. Seong made her initial appearance. ECF No. 62.
21               Ms. Seong was released on a Personal Recognizance Bond. One of her conditions
22               was that she surrender her passport. ECF No. 67.
23          2. On August 7, 2017, Ms. Seong was adjudicated guilty of Conspiracy to Commit
24               Money Laudering and sentenced to three years’ probation. ECF No. 182. Her
25               bond was also exonerated.
26          3. Ms. Seong desires to obtain her passport back from Pretrial Services. Pretrial
                 services has notified defense counsel that an order for this Court is necessary before
                 they can relinquish the passport back to Ms. Seong.
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 1     4. Neither pretrial services nor the government oppose Ms. Seong’s request.
 2     5. Ms. Seong respectfully requests that this Court enter an order requiring Pretrial
 3        Services to return her passport.
 4     DATED this 9th day of August, 2017.
 5                                            RENE L. VALLADARES
                                              Federal Public Defender
 6
 7                                       By: /s/Raquel Lazo
                                             RAQUEL LAZO
 8                                           Assistant Federal Public Defender
                                             Attorney for In Seon Seong
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 1                                UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                       Case No. 12-CR-268-JAD-CWH
 4
                     Plaintiff,                      ORDER
 5
              v.
 6
     IN SEON SEONG,
 7
                     Defendant.
 8
 9    Good cause appearing,
10            IT IS HEREBY ORDERED that Pretrial Services is to return Ms. Seong’s passport to
11   her.
12
            DATED this 9th day of August, 2017.
              DATED this____ day of August, 2017.
13
14
15                                              __________________________________
                                                UNITED STATES DISTRICT JUDGE
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 1                         CERTIFICATE OF ELECTRONIC SERVICE

 2          The undersigned hereby certifies that he is an employee of the Federal Public Defender
 3   for the District of Nevada and is a person of such age and discretion as to be competent to
 4   serve papers.
 5          That on August 9, 2017, he served an electronic copy of the above and foregoing
 6   UNOPPOSED MOTION FOR RETURN OF PASSPORT by electronic service (ECF) to
 7   the person named below:
 8
 9                         DANIEL G. BOGDEN
                           United States Attorney
10                         KIMBERLY FRAYN
                           Assistant United States Attorney
11                         333 Las Vegas Blvd. So. 5th Floor
                           Las Vegas, NV 89101
12
                                                  /s/ Brandon Thomas
13                                                Employee of the Federal Public Defender
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